Case 2:03-CV-02569-BBD-tmp Document 366 Filed 07/20/05 Page 1 of 4 Page|D 363

 

 
 
  

 

 

UNITED STATES DISTRICT COURT 1 FH_EB 514 '77 q C
FOR THE WESTERN DISTR]C'I` OF TENNESSEE " c" `
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EDGAR JOHNSON, ) \JVCLEH{;{' 1_;§l ') ;f¢'|C%UH
_ _ ) 1111 ;:f~' d z,gp‘-ggg
PlamtlH`, )
)
v. ) No. 03-2567 - D/P
)
HOME TECH SERVICES CO., ]_NC., ET AL., )
)
Defenda:nts. )
BOBBIE J. CARR, )
)
Plaintiff, )
) ,
v. ) No. 03-2569 - D/P 1/
)
I-IOME TECH SERVICES CO., INC., ET AL., )
)
Defendants. )
CHARLENE SPINKS, )
)
Plaintiff, )
)
v. ) No. 03-2568 - D/P
)
HOME TECH SERVICES CO., INC., ET AL., )
)
Defendants. )

 

ORDER ON JO]NT MOTION FOR NEW TRIAL DATES

 

Before the Cou.rt is the Joint Motion for NeW Trial Dates filed by all the parties. The

Court hereby t`mds that the Motion is well taken and Should be granted.

This document entered on the docket tln ce
with Hu|e 58 and/or 79(a) FRCP on

Case 2:03-CV-02569-BBD-tmp Document 366 Filed 07/20/05 Page 2 of 4 Page|D 364

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that the trials of these

casesaresetfor q/\\/£OOG 'Fo(` O§- &Sb")‘ 10/\9’/3005‘€°" OS-RSGZ‘,
\o/so/aoc>e 6c 03 ase"\.
ITISSO ORDERED, this@_&*ayo ` - 1

 

 

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Honorable Bernice Donald
US DISTRICT COURT

Page 4 of 4 Page|D 366

